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   IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

      MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR,                )          (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH,               )
JARRELL W. WALKER, JR.,            )
and JOSEPH R. CROSBY               )

                         OPINION AND ORDER

    Following a mistrial, defendants Milton E. McGregor,

Thomas E. Coker, Larry P. Means, James E. Preuitt, Harri

Anne H. Smith, and Jarrell W. Walker, Jr. move to dismiss

the indictment and for judgments of acquittal on double-

jeopardy    grounds.        Relying     on   principles      of    issue

preclusion embodied in the Double Jeopardy Clause, the

defendants argue that the jury decided certain facts in

their favor when it found them not-guilty on various

counts and hung on the remaining counts.               The defendants

contend    that    the   acquittals      collaterally       estop    the

government from prosecuting them a second time on the
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hung counts.       For the reasons that follow, the court

denies the motions insofar as they raise double-jeopardy

claims.



                I. Standard for Double Jeopardy

    At its common-law core, the Double Jeopardy Clause

prohibits the government from charging a defendant with

the same crime twice.       But a retrial after a hung jury is

distinct from a second trial after a total acquittal.

The former is the continuation of the same criminal

proceeding, whereas the latter is the paradigmatic evil

the Double Jeopardy Clause targets.                Thus, it is well

settled that a “retrial following a ‘hung jury’ does not

violate   the    Double   Jeopardy      Clause.”      Richardson        v.

United States, 468 U.S. 317, 324 (1984).

    But the Double Jeopardy Clause would be rendered a

nullity if creative pleading permitted the government to

re-indict acquitted defendants on new charges based on

the same factual scenario.            The Double Jeopardy Clause,



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therefore,        incorporates         principles         of       collateral

estoppel.      See Ashe v. Swenson, 397 U.S. 436 (1970).                         As

in civil litigation, “when an issue of ultimate fact has

once been determined by a valid and final judgment, that

issue cannot again be litigated between the same parties

in    any   future     lawsuit.”           Id.    at   443.        If    a    jury

“necessarily decided” a fact when it rendered a not-

guilty      verdict,     issue       preclusion        prevents         its    re-

litigation.        Yeager v. United States, 129 S. Ct. 2360,

2367 (2009).

      In    deciding     whether      collateral        estoppel         bars    a

retrial,      courts    must     engage      in    a   two-step         inquiry.

First, courts must examine whether it is possible to

“ascertain      the    basis    of    the    acquittal        at   the        first

trial.”      United States v. Quintero, 165 F.3d 831, 835

(11th Cir. 1999) (internal quotation marks omitted).

Second, courts should “determine whether the facts found

at the first trial are an essential element of conviction

of the second offense.”               United States v. Ohayon, 483



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F.3d 1281, 1294 (11th Cir. 2007).               If a fact that was

necessarily decided in the defendants favor is required

for    a    conviction   under     another   count,    a    retrial     is

prohibited.        See United States v. Bennett, 836 F.2d 1314,

1316 (11th Cir. 1988) (“To bar prosecution, a finding of

fact must be inconsistent with a finding of guilt in a

second       trial.”).       Defendants      bear    the    burden      of

establishing their double-jeopardy claim.                  See Ohayon,

483 F.3d at 1286.

       Where, as here, the jury issues a general verdict,

courts should “examine the record of a prior proceeding,

taking into account the pleadings, evidence, charge, and

other relevant matter, and conclude whether a rational

jury could have grounded its verdict upon an issue other

than that which the defendant seeks to foreclose from

consideration.”          Ashe,     397   U.S.   at    444    (internal

quotation marks omitted).            Courts should approach this

task       with   “realism   and   rationality”      and    eschew    the

“hypertechnical and archaic approach of a 19th century



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pleading book.”         Id.        Nonetheless, the “doctrine of

collateral     estoppel       is    a       narrow   exception     to    the

Government’s right to prosecute a defendant in separate

trials for related conduct.”                United States v. Brown, 983

F.2d 201, 202 (11th Cir. 1993).

    In conducting this inquiry, courts may look to only

the acquitted counts.              Because there is “no way to

decipher what a hung count represents,” the court cannot

examine the unresolved counts to determine what facts the

jury necessarily decided.               Yeager, 129 S. Ct. at 2368.

A hung count, therefore, is a “nonevent.”                    Id. at 2367.

    Additionally,           the             “possibility      of        jury

nullification     ...    cannot     enter       into   the   analysis    of

courts making collateral estoppel inquiries.” Brown, 983

F.2d at 203.



              II.    Verdicts at the First Trial

    This public-corruption case involves allegations of

federal-programs bribery, extortion, honest-services mail



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and   wire    fraud,    money     laundering,       making     a   false

statement, obstruction of justice, and conspiracy to

commit federal-programs bribery.             In August 2011, a jury

returned 91 not-guilty verdicts and 33 unresolved counts.

The   government     has    elected     to   retry     the   remaining

defendants on all counts.

      As the chart below demonstrates, the jury found the

defendants not guilty on the vast majority of the honest-

services counts.1       Only McGregor, Coker, and Smith have

honest-services charges still pending against them.                  The

jury also found the defendants not guilty of all the

extortion charges.




    1. This chart omits defendants Robert B. Geddie, Jr.
and Quinton T. Ross, Jr., who were acquitted entirely.
A filled-in box indicates that the defendant was either
not charged with that offense or the court acquitted the
defendant on that charge prior to the case going back to
the jury.
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Count        Crime         McGregor      Coker           Means     Preuitt       Smith       Walker      Crosby
  1        Conspiracy        Hung         Hung           Hung       Hung         Hung         Hung
  2         Bribery                                                            Not Guilty
  4         Bribery          Hung
  5         Bribery          Hung
  6         Bribery                                      Hung
  7         Bribery                                  Not Guilty
  8         Bribery          Hung         Hung                                                Hung
  9         Bribery                                                 Hung
 10         Bribery        Not Guilty   Not Guilty
 14         Bribery                                                              Hung
 15         Bribery          Hung
 16         Bribery                                                                                      Hung
 19         Extortion                                Not Guilty
 20         Extortion                                Not Guilty
 21         Extortion                                                          Not Guilty
 22         Extortion                                             Not Guilty
 23      Honest Services     Hung       Not Guilty   Not Guilty   Not Guilty   Not Guilty   Not Guilty
 24      Honest Services     Hung       Not Guilty   Not Guilty   Not Guilty   Not Guilty   Not Guilty
 25      Honest Services     Hung       Not Guilty   Not Guilty   Not Guilty   Not Guilty   Not Guilty
 26      Honest Services     Hung       Not Guilty   Not Guilty   Not Guilty     Hung       Not Guilty
 27      Honest Services     Hung       Not Guilty   Not Guilty   Not Guilty   Not Guilty   Not Guilty
 28      Honest Services     Hung       Not Guilty   Not Guilty   Not Guilty   Not Guilty   Not Guilty
 29      Honest Services   Not Guilty   Not Guilty   Not Guilty   Not Guilty   Not Guilty   Not Guilty
 30      Honest Services     Hung       Not Guilty   Not Guilty   Not Guilty   Not Guilty   Not Guilty
 31      Honest Services     Hung         Hung       Not Guilty   Not Guilty   Not Guilty   Not Guilty
 32      Honest Services     Hung       Not Guilty   Not Guilty   Not Guilty   Not Guilty   Not Guilty
 33      Honest Services   Not Guilty   Not Guilty   Not Guilty   Not Guilty     Hung       Not Guilty
 34     Money Laundering                                                         Hung
 35     Money Laundering                                                         Hung
 36     Money Laundering                                                         Hung
 37     Money Laundering                                                         Hung
 38      False Statement                                            Hung




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                         III.    Discussion

       The defendants make a series of arguments regarding

issue preclusion.         McGregor, Coker, and Smith contend

that their acquittals on some of the honest-services

counts requires, at a minimum, that the remaining honest-

services counts be dismissed.            Similarly, Smith asserts

that    the   not-guilty     verdict     on   the   extortion      count

precludes a retrial on the bribery charge.                   And, more

broadly, the six defendants argue that their acquittals

on the honest-services counts necessitates dismissal of

all remaining charges.2

       Because defendants have not met their burden to

establish what the jury “necessarily decided,” their

collateral-estoppel challenge must fail.

       According to the defendants, the acquittals on the

honest-services mail and wire fraud counts reveal that



    2. The court notes that defendant Joseph R. Crosby
has not explicitly raised an issue-preclusion argument.
Only one charge against Crosby went to the jury, which
hung on that count.      The jury, therefore, did not
“necessarily decide” any fact as to Crosby.

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the jury necessarily decided that there was no bribery

scheme.    The defendants, however, ignore that honest-

services mail and wire fraud requires multiple findings.

As the court instructed the jury, the government must

prove all the following facts beyond a reasonable doubt:

          “First: the defendant knowingly devised
          or participated in a scheme to defraud
          the public of its right to the honest
          services of a public official through
          bribery, using false or fraudulent
          pretenses, representations, or promises;

          “Second:   the  false   or   fraudulent
          pretenses, representations, or promises
          were about a material fact;

          “Third: the defendant did so with an
          intent to defraud;

          “Fourth: the defendant did either of the
          following: (1) used the United States
          Postal Service by mailing or causing to
          be mailed, or used a private or
          commercial    interstate   carrier    by
          depositing or causing to be deposited
          with such carrier, something meant to
          help carry out the scheme to defraud
          through bribery; or (2) transmitted or
          caused to be transmitted by wire some
          communication in interstate commerce to
          help carry out the scheme to defraud
          through bribery; and



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          “Fifth: there was a quid pro quo in the
          scheme to defraud through bribery.”

Jury Instructions, Doc. No. 1640, at 31-32.

    As   the   defendants      correctly      point    out,   all    the

honest-services mail-fraud and wire-fraud counts allege

a scheme to defraud through bribery.              But each count is

predicated on a particular phone call or mailing.

    While explaining that each call or mailing was a

distinct offense, the court instructed the jury that:

          “To ‘cause’ the mail or an interstate
          carrier to be used, or to “cause” a wire
          communication to be transmitted is to do
          an act knowing that the use of the mail
          or an interstate carrier, or a wire
          transmission will follow in the ordinary
          course of business, or where that use or
          transmission        is     reasonably
          foreseeable. . . .

          “The item sent or transmitted may be
          anything, but it must further or assist
          in the carrying out of the scheme to
          defraud. There is no requirement that
          the mailing or use of an interstate
          carrier, or wire transmission precede
          the fraud, so long as it was in
          furtherance of the success of the
          scheme.”

Id. at 35-37.

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      The jury could have rationally concluded that the

acquitted calls and mailings were not in furtherance of

the scheme or that they were not caused by or reasonably

foreseeable     to    a    defendant.       These      individualized

decisions on particular calls and mailings cut against

the defendants’ contention that the jury made a broader

decision    regarding      the    underlying        bribery     scheme.

Indeed, the defendants’ arguments appear to engage in

what Yeager prohibits: an attempt to rationalize the not-

guilty and hung verdicts.           The court may not juxtapose

the acquitted and hung counts in an attempt to ascertain

the   jury’s   reasoning.        Because     it   is   impossible        to

discern a precise factual finding that goes beyond the

specific call or mailing in question, the honest-services

acquittals do not bar a retrial on either the hung

honest-services charges or the other offenses.

      McGregor and Coker rely on United States v. Coughlin,

610 F.3d 89 (D.C. Cir. 2010), where the defendant was

charged with devising a scheme to defraud the September



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11th    Victim      Compensation       Fund       by   filing    exaggerated

claims about his injuries.             Coughlin was indicted on five

counts       of   mail   fraud    (one      for    each   mailing       to   the

compensation fund), one count of making a false claim,

and one count of theft of public money.                       Id. at 94-95.3

The jury acquitted on three mail fraud counts and hung on

the remaining counts.             Id. at 95.           The not-guilty and

hung mailings were sent at various times during the

alleged scheme, with the last acquitted mailing occurring

at its conclusion.         Id. at 99.

       The    appellate        court     rejected        the    government’s

contention        that   the    jury   decided         that    the    acquitted

mailings were not made in furtherance the scheme: each

mailing was an administrative filing that Coughlin had

prepared and sent to the compensation fund.                          Id. at 99.

The court reasoned that, if there had been a scheme to

defraud, there was no question that Coughlin partook in



    3. Coughlin’s wife was a co-defendant at trial. She
was acquitted of the sole count against her: theft of
public money. Coughlin, 610 F.3d at 95 n.1.

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it and that the mailings furthered the scheme.                        This

point    went    undisputed.            See   id.    (discussing       the

prosecutor’s statements at trial about the in furtherance

prong not being a “big issue”).

    The     Coughlin      court,    therefore,       found     that   the

“defense at trial was that he lacked fraudulent intent

because he had always acted in good faith.”                   Id. at 98.

The court then held that, because the jury necessarily

decided that Coughlin “lacked fraudulent intent when he

mailed    each    of     the    three    letters,”     id.,     the    two

unresolved mail-fraud counts were precluded under the

Double Jeopardy Clause.          Id. at 93.

    This case, by contrast, involves a multi-defendant

scheme with five honest-services mail-fraud counts and

six honest-services wire-fraud counts.                  The issue in

dispute went beyond whether the defendants possessed the

requisite     intent.          Unlike    Coughlin,     where    the      in

furtherance      prong    was    undisputed     at    trial,     it   was

disputed here.         See, e.g., Closing Argument Transcript,



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Doc. No. 1833, at 264 (Coker’s attorney arguing that J-

137, the tape subject to count 30, was an example that

“show[s] how honest people lobby”).           A consistent defense

theme of the first trial was that “Team Gilley” had gone

rogue and that McGregor’s allies were merely lobbying.

This was such a pervasive theme that the prosecution

addressed it at the beginning of its closing argument.

Id. at 63 (“There wasn’t a separate Team Gilley and a

separate Team McGregor.”).          The jury, for example, could

have found that a call between Smith and Ronnie Gilley

(count 33) was not reasonably foreseeable to the other

defendants.

    Instead of filings being prepared by one person and

sent to a single administrative entity, the scheme here

involved calls and mailings between four of the remaining

defendants,     one   defendant     who   pled    guilty    and   three

others.    Rather than a simple scheme to defraud money

from one government entity, the indictment alleges a

scheme    to   defraud    through      bribery   of   several     state



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lawmakers.        Given the wide-ranging nature of this scheme

and   the    substantive        telephone   recordings      that    were

available to the jury, it is quite possible that the jury

found that a particular call or mailing was not in

furtherance         of    the   alleged     scheme    or   reasonably

foreseeable to a particular defendant.

      As to the other defendants, Means, Preuitt, and

Walker were acquitted of all honest-services mail-fraud

and wire-fraud counts.           In addition to the reasons given

above,      the    jury   could    have   also   found     that    these

defendants lacked the requisite means rea: an intent to

defraud.4         Thus, the government is not re-litigating a

necessarily decided fact when it charges these three

defendants with bribery and conspiracy.

      Similarly, Means’s, Preuitt’s, and Smith’s acquittals

on the extortion counts does not bar prosecution on the

bribery and conspiracy counts.            The court instructed the



    4. The court notes that this heightened element is
lacking in both the conspiracy and federal-programs-
bribery charges.

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jury    that   under   the   Hobbs     Act,   it   had   to   find   the

following facts beyond a reasonable doubt:

           “First:   the   defendant  caused   or
           attempted to cause the person named in
           the corresponding count to part with
           property;

           “Second: the defendant did so knowingly
           by using extortion under color of
           official right, as I will define it;

           “Third: the extortionate transaction
           delayed,   interrupted,   or   affected
           interstate commerce, or in the case of
           attempted extortion, the transaction
           would have delayed, interrupted, or
           affected    interstate   commerce    if
           completed; and

           “Fourth: there was a quid pro quo.”

Jury Instructions, Doc. No. 1640, at 29.

       The court elaborated on these elements as follows:

           “‘Extortion under color of official
           right’ is the wrongful taking or receipt
           of money or property by a public officer
           who knows that the money or property was
           taken or received in return for doing or
           not doing official acts. It does not
           matter whether or not the public officer
           employed force, threats, or fear.




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            “‘Wrongful’ means to get property
            unfairly and unjustly because the person
            has no lawful claim to it.”

Id.

      The    defendants       read     the       extortion    acquittals

charitably, assuming the jury found that no quid pro quo

existed.     But this is not the only route to a not-guilty

verdict.

      The jury could have rationally found that the state

senators did not wrongfully take or receive money or

property knowing that the money or property was taken or

received in return for doing or not doing official acts.

But even this finding is predicated on multiple factual

predicates.       The    jury    may      have    concluded    that   the

defendants      did     not     “wrongfully”        receive     campaign

contributions, as that term was defined in the jury

instructions.      Additionally, the jury could have found

that state lawmakers did not knowingly extort the named

person or persons in the indictment.                   It is far from




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clear which fact or facts the jury rested its extortion

acquittals on.

    Given the sheer complexity of these charges and the

multi-pronged defense arguments, it is impossible to

distill   from     the     jury’s       verdict    what     it   necessarily

decided when it acquitted the defendants on the majority

of counts.     Over the course of a lengthy first trial, the

defendants vigorously attacked the credibility of several

witnesses, questioned the government’s proof regarding

quid pro quo corruption, claimed that no illicit intent

existed as to any of the charges, and argued that no

bribery occurred at all.            No stone was left unturned.

    While this may make for good defense strategy, it

creates    a     quandary      for       issue-preclusion          analysis.

Collateral     estoppel      is     a    narrow      exception,     and   the

defense    bears       a   high     burden        in   establishing       its

existence.       See       Brown,       983   F.2d     at   202.     Indeed,

findings of issue preclusion in criminal cases tend to

occur when there is only one disputed fact.                        See Ashe,



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397 U.S. at 445 (“The single rationally conceivable issue

in dispute before the jury was whether the petitioner had

been one of the robbers.”); Coughlin, 610 F.3d at 98

(“Coughlin’s     defense     at    trial     was   that    he    lacked

fraudulent intent because he had always acted in good

faith.”);     Ohayon, 483 F.3d at 1287 (“The lone dispute at

trial was whether Ohayon was aware of the contents of the

bags.”).

    Here, the defendants have failed to satisfy their

burden   at    the   first    stage     of   the   issue-preclusion

inquiry.    The defendants have not shown a factual dispute

that was necessarily decided by the jury’s not-guilty

verdicts.

                               *   *    *



    Accordingly, it ORDERED that the motions to dismiss

and for a judgment of acquittal (Doc. Nos. 1748, 1749,

1751, 1753, 1754, 1756, 1757, 1805, 1806 & 1869) filed by

defendants Milton E. McGregor, Thomas E. Coker, Larry P.



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Means, James E. Preuitt, Harri Anne H. Smith, and Jarrell

W. Walker, Jr. are denied to the extent they assert

issue-preclusion grounds.

    Pursuant to United States v. Dunbar, 611 F.2d 985

(5th Cir. 1980),5 the court is required to make “written

findings determining whether the motion is frivolous or

nonfrivolous. If the claim is found to be frivolous, the

filing of a notice of appeal by the defendant shall not

divest the district court of jurisdiction over the case.

If nonfrivolous, of course, the trial cannot proceed

until   a   determination      is   made   of   the    merits    of      an

appeal.”      Id.   at    988.      The    court    finds    that     the

defendants’ double-jeopardy claims are frivolous.

    DONE, this the 28th day of October, 2011.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE




    5. In Bonner v. City of Prichard, 661 F.2d 1206,
1209 (11th Cir. 1981) (en banc), the Eleventh Circuit
adopted as binding precedent all of the decisions of the
former Fifth Circuit handed down prior to the close of
business on September 30, 1981.
